Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 1 of 16 PageID: 1



                                    UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


CAPITOL SPECIALTY INSURANCE                         Civil Action No.
CORPORATION

                               Plaintiff,                 DECLARATORY JUDGMENT
                                                               COMPLAINT
vs.

35 CLUB, LLC, JOHN DOES 1-10 (individual
fictitious parties whose identities are unknown
at this time); and ABC CORPORATIONS 1-
10 (individual fictitious corporations whose
identities are unknown at this time),

                               Defendants,
and

BROOKE MARRIN, IRINA VORONINA,
DESSIE MITCHESON, JAIME
EDMONDSON LONGORIA, JAMIE EASON
MIDDLETON, KATARINA VAN DERHAM,
LINA POSADA, MASHA LUND, SANDRA
VALENCIA, TIFFANY TOTH, TERA
LEIGH PATRICK, and JOANNA KRUPA,

                               Interested Party
                               Defendants

            Plaintiff Capitol Specialty Insurance Corporation (hereinafter “CSIC”), by and through

its attorneys, Connell Foley LLP, as and for a Complaint for Declaratory Judgment against

Defendant 35 Club, LLC (“35 Club”) and Interested Party Defendants Brooke Marin (“Banx”),

Irina Voronina (“Voronina”), Dessie Mitcheson (“Mitcheson”), Jaime Edmondson Longoria

(“Edmondson”), Jamie Eason Middleton (“Middleton”), Katarina Van Derham (“Van Derham”),

Lina Posada (“Posada”), Masha Lund (“Lund”), Sandra Valencia (“Valencia”), Tiffany Toth

(“Toth”), Tera Leigh Patrick (“Electra”), and Joanna Krupa (“Krupa”); hereby asserts and alleges

as follows:



4438661-1
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 2 of 16 PageID: 2



                                  NATURE OF THE ACTION

            1.   This is an insurance coverage action for declaratory relief to determine the

respective rights and duties of the parties, including without limitation the rights and obligations,

if any, of CSIC under a Commercial General Liability Insurance Policy issued by CSIC (the

“CSIC Policy”) in connection with certain underlying claims against 35 Club.

            2.   Defendant 35 Club has sought insurance coverage under the CSIC Policy for costs

associated with claims, demands and a multi-count lawsuit against it by the Interested Party

Defendants (the “Underlying Action”).

            3.   The present dispute between CSIC and 35 Club relates to the existence, scope and

extent of coverage, if any, available to 35 Club with respect to the Underlying Action under the

CSIC Policy.

                                 JURISDICTION AND VENUE

            4.   This action arises under the Declaratory Judgment Act, 28 U.S.C. § 2201.

            5.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1332(a), as there is complete diversity of citizenship between the parties, and, upon

information and belief, the amount in controversy exceeds $75,000.

            6.   Pursuant to 28 U.S.C. § 1391(a), venue is appropriate in this District because,

upon information and belief, a substantial part of the events giving rise to the Underlying Action

occurred in this District.




4438661-1
                                                 2
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 3 of 16 PageID: 3



                                          THE PARTIES

            7.    Plaintiff Capitol Specialty Insurance Corporation (“CSIC”) is a Wisconsin

corporation, with its principal place of business in Appleton, Wisconsin, and who is authorized

to and does conduct business in the State of New Jersey.

            8.    Defendant 35 Club, LLC (“35 Club”) is a limited liability company organized and

existing under the laws of the State of New Jersey with a principal place of business at 7090 Rt.

35 North, Sayreville, New Jersey.

            9.    John Does 1-10 are additional presently unknown fictitious persons or entities

who have or may claim rights to insurance coverage under the CSIC Policy.

            10.   ABC Corporations 1-10 are additional presently unknown fictional insurance

companies which issued or may have issued other insurance policies under which coverage is

available for the Underlying Action.

            11.   Interested Party Defendant Brooke Marin, upon information and belief, is a

professional model and actress known as Brooke Banx (“Banx”), and a resident of the State of

Texas.

            12.   Interested Party Defendant Irina Voronina (“Voronina”), upon information and

belief, is a professional actress and model, and a resident of the State of California.

            13.   Interested Party Defendant Dessie Mitcheson (“Mitcheson”), upon information

and belief, is a professional actress and model, and a resident of the State of California.

            14.   Interested Party Defendant Jaime Edmondson Longoria (“Edmondson”), upon

information and belief, is a professional actress and model, and a resident of the State of Florida.

            15.   Interested Party Defendant Jamie Eason Middleton (“Middleton”), upon

information and belief, is a professional actress and model, and a resident of the State of Texas.




4438661-1
                                                  3
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 4 of 16 PageID: 4



            16.   Interested Party Defendant Katarina Van Derham (“Van Derham”), upon

information and belief, is a professional actress and model, and a resident of the State of

California.

            17.   Interested Party Defendant Lina Posada (“Posada”), upon information and belief,

is a professional actress and model, and a resident of the State of California.

            18.   Interested Party Defendant Masha Lund (“Lund”), upon information and belief, is

a professional actress and model, and a resident of the State of California.

            19.   Interested Party Defendant Sandra Valencia (“Valencia”), upon information and

belief, is a professional actress and model, and a resident of Colombia.

            20.   Interested Party Defendant Tiffany Toth (“Toth”), upon information and belief, is

a professional actress and model, and a resident of the State of California.

            21.   Interested Party Defendant Tara Leigh Patrick, upon information and belief, is a

professional actress and model, known as Carmen Electra (“Electra”) and a resident of the State

of California.

            22.   Interested Party Defendant Joanna Krupa (“Krupa”), upon information and belief,

is a professional actress and model, and a resident of the State of California.




4438661-1
                                                  4
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 5 of 16 PageID: 5



                                           THE CSIC POLICY

            23.   Defendant 35 Club has sought insurance coverage in connection with the

Underlying Action under CSIC Commercial General Liability Insurance Policy number

BR******** effective March 24, 2016 to March 24, 2107 (the “CSIC Policy”)

            24.   The CSIC Policy only provides liability insurance with respect to “damages

because of “personal and advertising injury” caused by an offense arising out of the Named

Insured’s business.

            25.   The CSIC Policy also expressly excludes coverage for personal and advertising

injury arising out of an electronic chatroom or bulletin board the insured hosts, owns, or over

which the insured exercises control.

            26.   The CSIC Policy expressly excludes coverage for, inter alia, personal and

advertising injury caused by or at the direction of the insured with the knowledge that the act

would violate the rights of another and would inflict personal and advertising injury.

            27.   The CSIC Policy also excludes coverage for personal and advertising injury

arising out of any oral or written publication of material if done by or at the direction of the

insured with knowledge of its falsity.

            28.   The CSIC Policy further excludes coverage for punitive, exemplary, and/or

statutory damages.

                                  THE UNDERLYING ACTION

            29.   On September 12, 2017, the Interested Party Defendants filed a Complaint in the

United States District Court for the District of New Jersey, captioned Brooke Marrin, et als. v. 35

Club, LLC, et als., bearing Civil Action Number 3:17-cv-07028. On March 2, 2018, the




4438661-1
                                                 5
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 6 of 16 PageID: 6



Interested Party Defendants filed an Amended Complaint in the Underlying Action, a copy of

which is annexed hereto as Exhibit “A”.

            30.   In the Underlying Action, it is alleged that 35 Club owns and/or operates various

social media accounts, including Facebook, Twitter, and Instagram, through which 35 Club

promotes, endorses, and markets its business, solicits customers, and advertises events. From

July 2013 through June 2017, 35 Club allegedly misappropriated images and likenesses of

models and actresses without their consent for use in 35 Club’s advertising materials produced to

market and promote 35 Club’s business. See Exhibit A.

            31.   In Count I of the Underlying Action, claimants have alleged that 35 Club

deliberately and willfully misappropriated their likenesses through a “scheme to create the false

impression that [claimants] were affiliated with and/or performed at” 35 Club’s business.

            32.   In Counts II and III of the Underlying Action, claimants have alleged that 35 Club

deliberately and willfully committed Unfair Competition and False Endorsement in violation of

15 U.S.C. 1125(a), Lanham Act, and N.J.S.A. 56:4-1, et seq. by placing claimants’ images and

likenesses on advertisements promoting 35 Club in order to create the false impression that

claimants are affiliated with, have endorsed, or otherwise participate in 35 Club’s business.

            33.   In Count IV of the Underlying Action, charging Common Law Unfair

Competition, claimants have alleged that 35 Club’s unauthorized use of claimants’ images and

likenesses in connection with creating the false impression that claimants were affiliated with 35

Club constitutes unfair competition under New Jersey common law.

            34.   As a result of 35 Club’s alleged conduct, claimants demand judgment in the

Underlying Complaint against 35 Club, including actual damages, statutory damages, punitive

damages, treble damages, prejudgment interest, disgorgement of profits, and costs of litigation.




4438661-1
                                                  6
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 7 of 16 PageID: 7



            35.    After 35 Club informed CSIC of the Underlying Complaint, CSIC sent 35 Club a

letter advising that CSIC acknowledged a duty to defend 35 Club, in connection with the

Underlying Complaint, subject to an express reservation of rights pursuant to all terms,

conditions, and exclusions of the CSIC Policy. See copy of October 5, 2017 letter annexed hereto

as Exhibit “B” (the ROR Letter).

            36.    The ROR Letter assessed CSIC’s rights, duties, and obligations relative to the

Underlying Action as to 35 Club, as the Named Insured in the CSIC Policy, and subject to the

terms, conditions, and exclusions of the CSIC Policy, and express reservation of rights.

            37.    Based upon the allegations in the Underlying Complaint and the limited factual

information that has been provided thus far, an actual justiciable controversy exists concerning

the existence, nature, and scope of coverage, if any, that may be available to 35 Club in

connection with the Underlying Action under the CSIC Policy.

                                           COUNT ONE
                  (Declaratory Judgment – Existence, Scope and Extent of Coverage)

            38.    CSIC repeats, realleges and incorporates by reference each of the allegations

contained in Paragraphs 1 through 37 of the Declaratory Judgment Complaint as if set forth at

length herein.

            39.    An actual controversy exists among the parties concerning the existence, scope

and extent of coverage, if any, available to 35 Club with respect to the Underlying Action under

the CSIC Policy.

            40.    In particular, the Insuring Agreement at Coverage B in the CSIC Policy provides

that:

                          CSIC will pay those sums that the insured becomes legally
                          obligated to pay as damages because of “personal and
                          advertising injury” to which this insurance applies. [CSIC]



4438661-1
                                                   7
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 8 of 16 PageID: 8



                            will have the right and duty to defend the insured against
                            any “suit” seeking those damages. However, [CSIC] will
                            have no duty to defend the insured against any “suit”
                            seeking damages for “personal and advertising injury” to
                            which this insurance does not apply.

                            This insurance applies to “personal and advertising injury”
                            caused by an offense arising out of [the Named Insured’s]
                            business but only if the offense was committed in the
                            “coverage territory” during the policy period.

            41.   Based upon the information presently available, it is presently unclear whether

and to what extent certain allegations in the Underlying Action trigger the Insuring Agreement of

the CSIC Policy. Specifically, coverage for the Underlying Action is or may be barred or limited

by various terms, conditions, provisions and/or exclusions of the CSIC Policy, including without

limitation for one or more of the following reasons:

            (a)   Coverage is barred to the extent that the damages asserted in the Underlying

                  Action do not constitute “personal and advertising injury” within the meaning of

                  the CSIC Policy;

            (b)   Coverage is barred to the extent that the events giving rise to the Underlying

                  Action do not constitute an offense arising out of the Named Insured’s business

                  within the meaning of those terms under the CSIC Policy;

            (c)   Coverage is barred to the extent that the events giving rise to the Underlying

                  Complaint do not constitute infringing on another’s copyright, trade dress or

                  slogan in the Named Insured’s “advertisement” within the meaning of the CSIC

                  Policy.

            42.   In light of the foregoing coverage issues, CSIC respectfully requests a judicial

declaration from this Court concerning whether and to what extent CSIC is obligated, if at all, to

provide insurance coverage to 35 Club in connection with the Underlying Action.



4438661-1
                                                     8
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 9 of 16 PageID: 9



                                         COUNT TWO
                       (Electronic Chatrooms or Bulletin Boards Exclusion)

            43.   CSIC repeats, realleges and incorporates by reference each of the allegations

contained in Paragraphs 1 through 42 of the Declaratory Judgment Complaint as if set forth at

length herein.

            44.   Based upon the allegations in the Underlying Action, CSIC has agreed to provide

a defense to 35 Club, subject to a reservation of rights, including the right to seek declaratory

relief concerning whether and to what extent CSIC is required, if at all, to provide coverage

under the CSIC Policy in connection with the Underlying Action.

            45.   The CSIC Policy is subject to the Electronic Chatrooms or Bulletin Boards

Exclusion which bars coverage for damage or injury arising out of an electronic chatroom or

bulletin board the insured hosts, owns, or over which the insured exercises control.

            46.   In the Underlying Action, 35 Club is alleged to have improperly posted claimants’

images and likenesses via electronic social media chatrooms and bulletin boards such as the

Facebook, Twitter and Instagram pages controlled by 35 Club and/or its agents and employees.

            47.   Accordingly, CSIC respectfully requests a judicial declaration from this Court

concerning whether and to what extent the Electronic Chatrooms or Bulletin Boards Exclusion in

the CSIC Policy is applicable to the claims in the Underlying Action.

                                       COUNT THREE
                       (Knowing Violation of Rights of Another Exclusion)

            48.   CSIC repeats, realleges and incorporates by reference each of the allegations

contained in Paragraphs 1 through 47 of the Declaratory Judgment Complaint as if set forth at

length herein.




4438661-1
                                                  9
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 10 of 16 PageID: 10



            49.   Based upon the allegations in the Underlying Action, CSIC has agreed to provide

a defense to 35 Club, subject to a reservation of rights, including the right to seek declaratory

relief concerning whether and to what extent CSIC is required, if at all, to provide coverage

under the CSIC Policy in connection with the Underlying Action.

            50.   The CSIC Policy is subject to the Knowing Violation of Rights of Another

Exclusion which excludes coverage for damage or injury caused by or at the direction of the

insured with the knowledge that the act would violate the rights of another and would inflict such

damage or injury.

            51.   In the Underlying Action, claimants have alleged that 35 Club’s conduct was

willful, deliberate, and/or part of a scheme resulting in damage, and that 35 Club knew or should

have known that it had no right to use the images or likenesses.

            52.   Accordingly, CSIC respectfully requests a judicial declaration from this Court

concerning whether and to what extent the Knowing Violation of Rights of Another Exclusion in

the CSIC Policy is applicable to the claims in the Underlying Action.




4438661-1
                                                 10
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 11 of 16 PageID: 11



                                        COUNT FOUR
                    (Material Published With Knowledge of Falsity Exclusion)

            53.   CSIC repeats, realleges and incorporates by reference each of the allegations

contained in Paragraphs 1 through 52 of the Declaratory Judgment Complaint as if set forth at

length herein.

            54.   Based upon the allegations in the Underlying Action, CSIC has agreed to provide

a defense to 35 Club, subject to a reservation of rights, including the right to seek declaratory

relief concerning whether and to what extent CSIC is required, if at all, to provide coverage

under the CSIC Policy in connection with the Underlying Action.

            55.   The CSIC Policy is subject to the Material Published With Knowledge of Falsity

Exclusion which excludes coverage for damage or injury arising out of any oral or written

publication made by or at the direction of the insured with knowledge of its falsity.

            56.   In the Underlying Action, claimants have alleged that 35 Club knew or should

have known that they had no right to use claimants’ images and likenesses to promote their

business, and that 35 Club’s use of claimants’ photographs and likenesses was willful and

deliberate.

            57.   In light of the foregoing coverage issues, CSIC respectfully requests a judicial

determination from this Court concerning whether and to what extent the Material Published

With Knowledge of Falsity Exclusion in the CSIC Policy is applicable to the claims in the

Underlying Action.




4438661-1
                                                 11
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 12 of 16 PageID: 12



                                           COUNT FIVE
                  (Declaratory Judgment – Punitive or Statutory Damages Exclusion)

            58.     CSIC repeats, realleges and incorporates by reference each of the allegations

contained in Paragraphs 1 through 57 of the Declaratory Judgment Complaint as if set forth at

length herein.

            59.     Based upon the allegations in the Underlying Action, CSIC has agreed to provide

a defense to 35 Club, subject to a reservation of rights, including the right to seek declaratory

relief concerning whether and to what extent CSIC is required, if at all, to provide coverage

under the CSIC Policy in connection with the Underlying Action.

            60.     The CSIC Policy is subject to the Punitive or Statutory Damages Exclusion which

excludes coverage for punitive, exemplary or statutory damages (such as multiplied damages,

costs, expenses or attorneys’ fees).

            61.     In the Underlying Action, claimants have sought relief including punitive,

exemplary and/or statutory damages which, if awarded, would be subject to and excluded by the

Punitive or Statutory Damages Exclusion.

            62.     Accordingly, CSIC respectfully requests a judicial determination from this Court

concerning whether and to what extent the Punitive or Statutory Damages Exclusion in the CSIC

Policy is applicable to the claims in the Underlying Action.

                                             COUNT SIX
                                  (Additional CSIC Policy Provisions)

            63.     CSIC repeats, realleges and incorporates by reference each of the allegations

contained in Paragraphs 1 through 62 of the Declaratory Judgment Complaint as if set forth at

length herein.




4438661-1
                                                   12
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 13 of 16 PageID: 13



            64.   Based upon the allegations in the Underlying Action, CSIC has agreed to provide

a defense to 35 Club, subject to a reservation of rights, including the right to seek declaratory

relief concerning whether and to what extent CSIC is required, if at all, to provide coverage

under the CSIC Policy in connection with the Underlying Action.

            65.   In particular, the CSIC Policy contains, without limitation, the following

potentially applicable terms and conditions:

            (a)   Coverage is barred to the extent that the Underlying Action involves liability

                  arising out of acts or omissions of an individual, organization, or entity other than

                  those individuals, organizations, or entities listed as Named Insureds or otherwise

                  qualifying as insureds under the CSIC Policy;

            (b)   Coverage is barred to the extent that the Underlying Action involves injury found

                  to have taken place prior to or otherwise outside of the coverage period of the

                  CSIC Policy.

            (c)   Coverage is barred to the extent that the Material Published Prior to the Policy

                  Period Exclusion is found to apply;

            (d)   Coverage is barred to the extent that 35 Club is found to have breached the notice

                  and/or cooperation conditions of the CSIC Policy;

            (e)   Coverage is barred to the extent that 35 Club is found to have breached the

                  condition in the CSIC Policy precluding an insured from voluntarily making a

                  payment, assuming any obligation, or incurring any expense, other than for first

                  aid, without CSIC’s consent; and

            (f)   Coverage is barred in whole or in part to the extent that the CSIC Policy applies

                  as excess over other valid and collectible insurance;




4438661-1
                                                   13
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 14 of 16 PageID: 14



            66.   Additionally, 35 Club has not presented the Underlying Action with sufficient

particularity so as to make CSIC aware of all policy terms, conditions, provisions, exclusions or

other defenses which are or may become available so as to bar or limit coverage. CSIC

accordingly reserves the right to amend this Declaratory Judgment Complaint and/or assert all

applicable defenses if and when additional information becomes available.

                                       PRAYER FOR RELIEF

WHEREFORE, CSIC respectfully requests judgment and relief as follows:

            A)    A declaration determining the existence, scope and extent of coverage, if any,

                  with respect to the Underlying Action under the CSIC Policy;

            B)    A declaration of the parties’ respective rights, obligations and duties with respect

                  to defense costs and/or indemnity payments made or to be made in connection

                  with the Underlying Action, including but not limited to the obligations of 35

                  Club to pay amounts attributable to non-covered claims;

            C)    For any and all declarations not expressly requested herein regarding the rights

                  and duties of the parties that are necessary for the resolution of this matter;

            D)    An award of CSIC’s reasonable attorneys’ fees and costs of this suit, and such

                  other relief as this Court deems just, proper and equitable.




4438661-1
                                                    14
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 15 of 16 PageID: 15



                                DEMAND FOR JURY TRIAL

CSIC hereby demands a jury trial on all matters so triable.

                                             CONNELL FOLEY LLP

                                             By:     s/Neil V. Mody_______________________

                                                     Neil V. Mody
                                                     56 Livingston Avenue
                                                     Roseland, New Jersey 07068
                                                     (973) 535-0500
                                                     Attorneys for Plaintiff,
                                                     Capitol Specialty Insurance Corporation

Dated: March 9, 2018




4438661-1
                                                15
Case 3:18-cv-03399-MAS-LHG Document 1 Filed 03/09/18 Page 16 of 16 PageID: 16



                                    RULE 11.2 CERTIFICATION

            I hereby certify that, to the best of my knowledge, the matter in controversy is not the

subject of any other pending or anticipated litigation in any court or arbitration proceeding,

except that this declaratory judgment action arises out of demands for insurance coverage in

connection with a lawsuit captioned Brooke Marrin, et als. v. 35 Club, LLC, et als., bearing Civil

Action Number 3:17-cv-07028-MAS-LHG, currently pending in the United States District Court

for the District of New Jersey. I further certify that there are no non-parties known to CSIC that

should be joined to this action. In addition, I recognize a continuing obligation during the course

of this litigation to file and to serve on all other parties and with the Court an amended

Certification if there is a change in the facts stated in this original certification.

                                                 CONNELL FOLEY LLP


                                                 By:     s/Neil V. Mody_______________________

                                                         Neil V. Mody
                                                         56 Livingston Avenue
                                                         Roseland, New Jersey 07068
                                                         (973) 535-0500
                                                         Attorneys for Plaintiff,
                                                         Capitol Specialty Insurance Corporation

Dated: March 9, 2018




4438661-1
                                                   16
